                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                 )
Husband and Wife,                                )
                                                 )
      Plaintiffs,                                )       Civil Action No.: 3:17-cv-00725
                                                 )
v.                                               )       Jury Demand
                                                 )
DR. CLARK ARCHER and HCA HEALTH                  )       Judge Campbell
SERVICES OF TENNESSEE, INC. d/b/a                )       Magistrate Judge Newbern
STONECREST MEDICAL CENTER,                       )
                                                 )
      Defendants.                                )

       PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE #5

      Plaintiffs do not oppose Defendant’s Motion in Limine #5.



                                          RESPECTFULLY SUBMITTED,



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                                 CERTIFICATE OF SERVICE
        I certify that I served all parties in this matter through counsel of record listed below with
the foregoing by CM/ECF on December 21, 2018:

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                                                      s/ Mark Hammervold
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